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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


  Cristie Marie Underwood fka Cristie Willman                                 CHAPTER 13
  Dirone Troy Underwood
                                Debtor

  Specialized Loan Servicing LLC
                                Movant                                      NO. 19-14805 ELF
                 vs.

  Cristie Marie Underwood fka Cristie Willman
  Dirone Troy Underwood
                                Debtor                                  11 U.S.C. Section 362

  William C. Miller, Esquire
                                     Trustee

                                            STIPULATION

            AND NOW, it is hereby stipulated and agreed by and between the undersigned as follows:

            1.      The post-petition arrearage on the mortgage held by the Movant on the Debtor’s

  residence is $2,418.16 which breaks down as follows;

       Post-Petition Payments:           August 2020 to October 2020 in the amount of $873.56/month
       Suspense Balance:                 $202.52
       Total Post-Petition Arrears       $2,418.16

  2.        The Debtor shall cure said arrearages in the following manner:

                    a). Within seven (7) days of the filing of this Stipulation, Debtor shall file an

  Amended Chapter 13 Plan to include the post-petition arrears of $2,418.16.

                    b). Movant shall file an Amended or Supplemental Proof of Claim to include the

  post-petition arrears of $2,418.16 along with the pre-petition arrears;

                    c). The new 410A form for a Proof of Claim shall not be required for this Amended

  or Supplemental Proof of Claim.

            3.       Beginning with the payment due November 1, 2020 and continuing thereafter,

  Debtor shall pay to Movant the present regular monthly mortgage payment of $873.56 (or as

  adjusted pursuant to the terms of the mortgage) on or before the first (1st) day of each month (with

  late charges being assessed after the 15th of the month).

            4.      Should Debtor provide sufficient proof of payments made, but not credited (front &

  back copies of cancelled checks and/or money orders), Movant shall adjust the account accordingly.

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           5.      In the event the payments under Section 3 above are not tendered pursuant to the

  terms of this stipulation, the Movant shall notify Debtor(s) and Debtor’s attorney of the default in

  writing and the Debtors may cure said default within FIFTEEN (15) days of the date of said notice.

  If Debtor(s) should fail to cure the default within fifteen (15) days, the Movant may file a

  Certification of Default with the Court and the Court shall enter an Order granting the Movant relief

  from the automatic stay. In the event of a second default pursuant to the terms of this Stipulation, the

  Movant may file a Certification of Default with the Court and the Court shall enter an Order granting

  Movant relief from the automatic stay.

           6.      The stay provided by Bankruptcy Rule 4001(a)(3) is waived.

           7.      If the case is converted to Chapter 7, the Movant shall file a Certification of Default

  with the court and the court shall enter an order granting the Movant relief from the automatic stay.

           8.      If the instant bankruptcy is terminated by either dismissal or discharge, this

  agreement shall be null and void, and is not binding upon the parties.

           9.      The provisions of this stipulation do not constitute a waiver by the Movant of its

  right to seek reimbursement of any amounts not included in this stipulation, including fees and costs,

  due under the terms of the vehicle and applicable law.

           10.     The parties agree that a facsimile signature shall be considered an original signature.




  Date:    October 13, 2020                           By: /s/ Rebecca A. Solarz, Esquire
                                                      Attorney for Movant



          November 16, 2020
  Date:                                                 /s/Joseph L. Quinn, Esq.
                                                      _____________________________
                                                      Joseph L. Quinn, Esquire
                                                      Attorney for Debtor




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  Date:   November 16, 2020                        /s/Leroy Etheridge, Esq.
                                                   _____________________________
                                                   William C. Miller, Esquire
                                                   Chapter 13 Trustee

                                    ORDER
  Approved by the Court this 18th day of         November        , 2020. However, the court
  retains discretion regarding entry of any further order.



                                                   Bankruptcy Judge
                                                   Eric L. Frank




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